Case: 4:21-cr-00149-AGF-SPM Doc. #: 2 Filed: 03/03/21 Page: 1 of 1 PageID
                                                                      i i
                                                                          #: 5
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                                 UNITED STATES DISTRICT COURT                         SUPPREsf'J!>EfD
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DMSION                                       MARI~$ 2021
                                                                                           u. s. plsrn1cT COURT
UNITED STATES OF AMERICA,                                 )                              EASTERN DISTRICT OF MO
                                                          )                                      ST. LOUIS
                                                                                                      I Ii

                         Plaintiff,                       )
                                                          )     ~·                                      I


vs.                                                       )                                         I'                  I
                                                          )
NICHOLAS DILBECK,                                         )           4:2lCR0014~lfGF/SPM
                                                          )
                         Defendants.                      )

                                             INDICTMENT

                                              COUNT ONE

      The Grand Jury charges that:
                                                                                                    ,               I

      On or about April 8, 2020, in the City of St. Louis, Missouri, within the Eastern District of Missouri,
          '                                                      .                                  ,I I
                                        NICHOLAS DILBECK,                                           ': I
                                                                                                     I I
                                                                                                    I'              I

the defendant herein, did knowingly and intentionally possess with the intent to distribute 50 gr~~ or more
                                                                           .                        :I              I
of a mixture or substance containing a detectable amount of methamphetamine, a Schedule 11: ctntrolled
                                                                                                    1
                                                                                                            I ,
substance,
                                                                                                                    I

        In violation of Title 21, United States Code, Section 841(a)(l), and punishable under !itle 21,
                                                                                                                    '
                                                                                                                    I
United States Code, Section 84l(b)(l)(B)(viii).

                                                                     A TRUE BILL
                                                                       I




                                                                     FOREPERSON
SAYLER A. FLEMING
United States Attorney




CATHERINE M. HOAG, #67500MO
Assistant United States Attorney
                                                                                                                I

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